Angelo L. Rosa (Idaho State Bar No. 7546)
ANGELO L. ROSA, ESQ.
2211 East Camelback Road, No. 301
Phoenix, Arizona 85016
Telephone:    +1 (801) 440-4400
Fax:          +1 (208) 515-2203
E-mail:       arosa@rosacommerce.com

Attorneys for Respondent/Counter-Petitioner
SOUTHERN IDAHO AMBULATORY SURGERY CENTER, LLC


                           UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF IDAHO


  TWIN FALLS NSC, LLC, a Tennessee          Case No. 1:19-cv-00009-DCN
  limited liability company,

         Petitioner/Counter-Respondent,

  v.                                         NOTICE OF SERVICE OF SOUTHERN
                                               IDAHO AMBULATORY SURGERY
  SOUTHERN IDAHO AMBULATORY                   CENTER, LLC’S OBJECTIONS AND
  SURGERY CENTER, LLC, an Idaho              RESPONSES TO TWIN FALLS NSC’S
  limited liability company,                  FIRST SET OF INTERROGATORIES
                                             AND REQUESTS FOR PRODUCTION
         Respondent/Counter-Petitioner.




NOTICE OF SERVICE OF SOUTHERN IDAHO AMBULATORY SURGERY CENTER,
LLC’S OBJECTIONS AND RESPONSES TO TWIN FALLS NSC’S FIRST SET OF
INTERROGATORIES AND REQUESTS FOR PRODUCTION – Page 1
       NOTICE IS HEREBY GIVEN THAT:

       1.     On 4 June 2020, Respondent/Counter-Petitioner, SOUTHERN IDAHO

AMBULATORY SURGERY CENTER, LLC (“SIASC”) served its Objections and Responses to

Petitioner/Counter-Respondent, TWIN FALLS NSC, LLC’s (“Twin Falls NSC”) First Set of

Interrogatories and Requests for Production of Documents by the method(s) and addressed as

indicated below:

 W. Brantley Phillips, Jr.                           U.S. First Class Mail, Postage Prepaid
 Russell S. Baldwin                                  Hand-Delivered
 Allison W. Acker                                    Overnight Delivery
 BASS BERRY & SIMS PLC                               Facsimile
 150 Third Avenue South, Ste. 2800                   e-Mail
 Nashville, TN 37201                                 Electronic Court Filing/Service
 bphillips@bassberry.com
 rbaldwin@bassberry.com
 allison.acker@bassberry.com


       Executed on 11 June 2020 at Phoenix, Idaho:



                                                 /s/ Angelo L. Rosa
                                                 Angelo L. Rosa




NOTICE OF SERVICE OF SOUTHERN IDAHO AMBULATORY SURGERY CENTER,
LLC’S OBJECTIONS AND RESPONSES TO TWIN FALLS NSC’S FIRST SET OF
INTERROGATORIES AND REQUESTS FOR PRODUCTION – Page 2
                          CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on 6 July 2020 I submitted the foregoing to the Clerk of
the Court for service on CM/ECF Registered Participants as reflected on the Notice of
Electronic Filing, including, but not limited to, the following:

      Scott D. Hess             sdhess@hollandandhart.com

      Brant Phillips            BPhillips@bassberry.com



                                             /s/ Angelo L. Rosa
                                            Angelo L. Rosa




NOTICE OF SERVICE OF SOUTHERN IDAHO AMBULATORY SURGERY CENTER,
LLC’S OBJECTIONS AND RESPONSES TO TWIN FALLS NSC’S FIRST SET OF
INTERROGATORIES AND REQUESTS FOR PRODUCTION – Page 3
         EXHIBIT A
             TO
DECLARATION OF ANGELO L. ROSA
         EXHIBIT B
             TO
DECLARATION OF ANGELO L. ROSA
         EXHIBIT C
             TO
DECLARATION OF ANGELO L. ROSA
